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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

        JEROME DUVALL, et al.                            *

                            Plaintiffs,           *

              v.                                  *      Civil Action No. ELH 94-2541

        LAWRENCE HOGAN, et al.
                                                  *
                            Defendants.
                                                  *

              *      *   *     *   *    *    *   *    *    *    *
                  DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO
                                     ENFORCE

       Lawrence Hogan, Governor of Maryland (“Governor”), Robert L. Green

(“Secretary”) of the Department of Public Safety and Correctional Services (“the

Department”), and Michael Resnick, Commissioner (“Commissioner”) of the Division of

Pretrial Detention and Services (“DPDS”), defendants, through their attorneys, Brian E.

Frosh, Attorney General of Maryland, and Laura Mullally, Assistant Attorney General,

respond to the plaintiffs’ motion to enforce, ECF No. 738, and state:

       INTRODUCTION:

       Raymond Patterson M.D., who has served as the mental health monitor in the above-

entitled case since 2016, submitted his resignation on May 14, 2021. See ECF No. 738-2.

The resignation was effective June 30, 2021. As part of his resignation letter, Dr. Patterson

forwarded the names of three psychiatrists to step into his shoes as mental health monitor.

Id. Plaintiffs have stated that they are prepared to agree upon only one of Dr. Patterson’s

recommendations: Pablo Stewart M.D. ECF No. 738-2. The plaintiffs have not suggested

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any additional candidates.

       Paragraph 32 of the Settlement Agreement allows for the parties to confer and

attempt to agree upon an successive mental health monitor. ECF No 572-2. There is no

requirement in the Agreement that the departing monitor take on a role in the selection of

his replacement, or that the parties choose from the short list of successor submitted by Dr.

Patterson. There is no requirement in the Agreement that the defendants accept or reject

the plaintiffs’ preferred candidate prior to the conference.      There is also no timeline

established by the Agreement for negotiating or hiring a replacement monitor. Id. The

Settlement Agreement requires a monitor to review evidence of compliance and assess

progress. Id., at Paragraph 38. Currently, there is no requirement that a monitor make an

on-site inspection at the Baltimore City Booking and Intake Center (“BCBIC”). Id., at

Paragraph 38(a), (b).

       Since Dr. Patterson’s resignation, the defendants have had multiple discussions with

four qualified psychiatrists. See Declaration of Laura Mullally, attached hereto as Exhibit

A. Two had conflicts of interest. Id. The remaining two wished to review the Settlement

Agreement, and prior monitoring reports written by the medical and psychiatric monitor

prior to committing to a monitoring project. Id. One of the psychiatrists sought to review

the quality improvement and root cause analyses data. Id. The psychiatrist would not

commit until she had a greater understanding of the status of the case.           Id.   Both

psychiatrists were parties to a series of telephone calls with either undersigned counsel, or

Lynda Bonieskie Ph.D., the Department’s Director of Mental Health. Id. Until both of

these psychiatrists agreed to be considered, the defendants were reluctant to reveal anything

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about them to the plaintiffs in the event that the psychiatrists did not wish to be chosen. Id.

Undersigned counsel asked for plaintiffs’ counsel’s patience on July 22, 2021. ECF No.

738-2.

         Since the filing of plaintiffs’ motion, the defendants have put forth the names of the

two additional psychiatrists for consideration. Exhibit A. The parties have scheduled a

Zoom mediation for August 17, 2021. See email between counsel for the parties, dated

August 10, 2021, attached hereto as defendants’ Exhibit B.

         ARGUMENT:

         A “case or controversy” must exist through “all stages” of litigation. Already, LLC

v. Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Alvarez v. Smith, 558 U.S. 87, 92 (2009)).

At present, there is nothing for this Court to decide. The defendants have complied with

the preliminary requirements for the replacement of a court-appointed monitor, and the

conference is scheduled. The issues raised by plaintiffs’ motion is moot. A case becomes

moot “‘when the issues presented are no longer live.’”         Already, LLC, 568 U.S. at 91

(quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per curiam)) (internal quotation marks

removed). The Court should dismiss the motion, because it cannot grant the relief sought

by the plaintiffs.

         The parties now have three candidates under consideration for the monitoring

position. The parties are scheduled to confer on replacing Dr. Patterson on August 17,

2021. Exhibit B. It makes little sense to the defendants to negotiate with plaintiffs over a

single candidate, Dr. Stewart, when the Settlement Agreement requires the parties to

consider the following four factors in combination with one another: 1) the candidate’s

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experience in the relevant discipline in a corrections setting; 2) the candidate’s professional

qualifications; 3) the candidate’s potential biases; and 4) the reasonableness of fees and

proposed monitoring plain. ECF no. 572-2, Paragraph 32; see also Exhibit A. The

defendants are prepared to discuss these factors with the plaintiffs while the parties

negotiate the proposed candidates on August 17, 2021. If that effort fails, the defendants

are prepared to pursue the sets set forth in Paragraph 33 of the Agreement.

       CONCLUSION:

       The defendants respectfully request that the Court dismiss the plaintiffs’ motion.

An appropriate Order is attached.

                                                   Respectfully submitted,

                                                   BRIAN E. FROSH
                                                   Attorney General of Maryland

                                                                 /s/

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